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Plain¢ifr, ) ease No. 2=03-2451-B/A¢E,531.§e;,__7;_;,5 css?' cz
v. ) ‘ ’*» "‘*»"€FH:Q
, )
P & C CAFE, INC. afb/a P & C Cafe )
a/k/a AFTER DARK BAR & GRILL )
)
Defendants. )

 

ORDER GRANTING REQUEST FOR ENTRY OF DEFAULT

 

Upon the Motion for Entry of Default, entered on February l`)ecember ll, 2003, entry of
DEFAULT IS HEREBY GRANTED against the defendant, P & C Café, Inc. pursuant
to FRCP 55(a).

On June 16, 2003 this Court filed the summons returned executed to P & C Caf`é as executed
on Septernber 9, 2003. Defendant had twenty days within which to answer or otherwise plead.
Defendant P & C Café, Inc. has failed to plead or otherwise defend as provided by the Federal Rules
of Civil Procedure.

ln compliance with R-ule 55(a), FRCP., plaintiffs motion for entry of default against the
above-named defendant is GRANTED. ln accordance to Rule 55(0) for good cause shown, the court
may set aside an entry of default.

Entered this 22“d day of April, 2005 .

ROBERT R. DI TROLIO
Clerk of Court

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Thls document entered on the docket sheet in compliance
with Fluie 58 and/or 79(@:; i'=.n*_',P on 4~£ ‘O§ /j

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:03-CV-02451 Was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

 

Wayne D. Lonstein
LONSTEIN LAW OFFICE PC
l Terrace Hill

P.O. Box 3 51

Ellenville, NY 12428

Honorable J. Breen
US DISTRICT COURT

